    Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 1 of 18




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



TERESA RICHARDSON, et al.,


               Plaintiffs,
                                     Civil Docket No. 20-cv-2262 (EGS)
      v.

DONALD J. TRUMP, et al.,


               Defendants.



MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
PLAINTIFFS’ COMPLAINT AS MOOT OR, IN THE ALTERNATIVE, TO DISSOLVE
                  THE PRELIMINARY INJUNCTION
          Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 2 of 18




                                                   TABLE OF CONTENTS


INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 1

A.        Plaintiffs Filed Suit to Protect Their Right to Vote in the November Election .................. 1

B.        Plaintiffs Vote in the November Election ........................................................................... 3

LEGAL STANDARD ..................................................................................................................... 4

ARGUMENT .................................................................................................................................. 4

I.        THE COURT LACKS JURISDICTION BECAUSE THIS CASE IS MOOT .................. 4

II.       THE POSTAL SERVICE HAS FULLY COMPLIED WITH THE COURT’S
          PRELIMINARY INJUNCTION ORDER, AND, IN ANY EVENT, ANY
          ALLEGED NONCOMPLIANCE CANNOT GIVE RISE TO A CASE OR
          CONTROVERSY THAT DOES NOT OTHERWISE EXIST ........................................ 10

III.      IN THE ALTERNATIVE, THE COURT SHOULD DISSOLVE THE
          PRELIMINARY INJUNCTION ...................................................................................... 11

CONCLUSION ............................................................................................................................. 12




                                                                           i
          Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 3 of 18




                                                TABLE OF AUTHORITIES

Cases

Am. Fed’n of Gov’t Emps. v. Rivlin,
  995 F. Supp. 165 (D.D.C. 1998) ................................................................................................ 9

Am. Freedom Def. Initiative v. Metro. Transp. Auth.,
  109 F. Supp. 3d 626 (S.D.N.Y. 2015) ...................................................................................... 11

Arizonans for Official English Language v. Arizona,
   520 U.S. 43 (1997) ..................................................................................................................... 4

Burniac v. Wells Fargo Bank, N.A.,
  810 F.3d 429 (6th Cir. 2016) .................................................................................................... 12

Chamber of Commerce of U.S. v. EPA,
  642 F.3d 192 (D.C. Cir. 2011) ............................................................................................... 5, 8

Clapper v. Amnesty Int’l USA,
  568 U.S. 398 (2013) ................................................................................................................... 7

Cooter & Gell v. Hartmarx Corp.,
  496 U.S. 384 (1990) ................................................................................................................. 11

CTIA-The Wireless Ass’n v. FCC,
  530 F.3d 984 (D.C. Cir. 2008) ................................................................................................... 8

Cypress Barn, Inc. v. W. Elec. Co.,
  812 F.2d 1363 (11th Cir. 1987) ................................................................................................ 11

Doe 2 v. Shanahan,
  755 F. App’x 19 (D.C. Cir. 2019) ............................................................................................ 12

Dist. 50, United Mine Workers of Am. v. Int’l Union, United Mine Workers of Am.,
  412 F.2d 165 (D.C. Cir. 1969) ................................................................................................. 11

Fleming v. Gutierrez,
   785 F.3d 442 (10th Cir. 2015) ................................................................................................ 6, 7

Freedom Party of N.Y. v. N.Y. Bd. of Elections,
  77 F.3d 660 (2d Cir. 1996) ..................................................................................................... 6, 7

Fund for Animals v. Mainella,
  335 F. Supp. 2d 19 (D.D.C. 2004) ........................................................................................... 10

Genesis Healthcare Corp. v. Symczyk,
  569 U.S. 66 (2013) ..................................................................................................................... 4

                                                                           ii
          Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 4 of 18




Hall v. Beals,
  396 U.S. 45 (1969) ................................................................................................................. 6, 7

Horne v. Flores,
  557 U.S. 433 (2009) ................................................................................................................. 12

Kingman Park Civic Ass’n v. Gray,
  27 F. Supp. 3d 142 (D.D.C. 2014) ............................................................................................. 7

In re LeFande,
   919 F.3d 554 (D.C. Cir. 2019) ................................................................................................... 4

Lewis v. Continental Bank Corp.,
  494 U.S. 472 (1990) ................................................................................................................... 5

Lujan v. Defenders of Wildlife,
  504 U.S. 555) (1992) .................................................................................................................. 5

Nat’l Park Hosp. Ass’n v. Dep’t of Interior,
  538 U.S. 803 (2003) ................................................................................................................... 8

Norton v. S. Utah Wilderness, All.,
  542 U.S. 55 (2004) ..................................................................................................................... 8

People for the Ethical Treatment of Animals, Inc. v. U.S. Fish &
  Wildlife Serv.,
  59 F. Supp. 3d 91 (D.D.C. 2014) ............................................................................................... 5

Preiser v. Newkirk,
  422 U.S. 395 (1975) ................................................................................................................... 5

Pub. Citizen Health Research Grp. v. Pizzella,
  No. CV 18-1729 (TJK), 2019 WL 4711457 (D.D.C. Sept. 26, 2019) ....................................... 9

Richardson v. Trump,
   No. CV 20-2262 (EGS), 2020 WL 5969270 (D.D.C. Oct. 8, 2020) .................................. 1, 2, 3

Spokeo, Inc. v. Robins,
  136 S. Ct. 1540 (2016) ........................................................................................................... 5, 6

United States v. Sanchez-Gomez,
  138 S. Ct. 1532 (2018) ............................................................................................................... 9

Venezia v. Robinson,
  16 F.3d 209, 211 (7th Cir. 1994) .............................................................................................. 11




                                                                          iii
        Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 5 of 18




Other Authorities

11A Charles Alan Wright, Arthur R. Miller & Mary K. Kane,
  Federal Practice and Procedure § 2947 (Oct. 2020 update) ................................................... 11




                                                           iv
       Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 6 of 18




                                         INTRODUCTION

       Plaintiffs—four individual voters living in Texas, Pennsylvania, New York, and

Indiana—brought this case to redress a specific injury: potential “disenfranchisement in the

November 2020 election.” Richardson v. Trump, No. CV 20-2262 (EGS), 2020 WL 5969270, at

*7 (D.D.C. Oct. 8, 2020). Plaintiffs have now confirmed that they each voted in the 2020

election, and they do not allege that there are any runoff elections in the states in which they

voted that would provide them with an opportunity to cast an additional vote. This case is

therefore undisputably moot: Plaintiffs can no longer assert any ongoing injury related to the

November 2020 election that is traceable to Defendants’ conduct or that could be redressed by a

decision from this Court. Accordingly, the Court should dismiss Plaintiffs’ complaint for lack of

subject-matter jurisdiction under Federal Rules of Civil Procedure 12(b)(1) and 12(h)(3) and

dissolve the preliminary injunction. Alternatively, should this Court deny the motion to dismiss,

it should still dissolve the preliminary injunction due to the absence of any continuing likelihood

of irreparable harm to the Plaintiffs.

                                         BACKGROUND

A.     Plaintiffs Filed Suit to Protect Their Right to Vote in the November Election

       On August 17, 2020, Plaintiffs filed their complaint against President Donald J. Trump,

Postmaster General Louis DeJoy, and the United States Postal Service, alleging that certain

alleged Postal Service policy changes had resulted in mail delays that prevented Plaintiffs from

voting by mail in their states’ primary elections. Compl. ¶ 11. Plaintiffs alleged that, if these

policy changes were not enjoined going forward, Plaintiffs would be injured because they would

not be able to vote by mail in the November general election. Id. ¶ 10. Specifically, Plaintiffs

alleged that injunctive relief was necessary to “protect the Plaintiffs’ right to vote by ensuring
       Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 7 of 18




that the United States Postal Service delivers absentee and mail-in ballots in a timely fashion to

them and then[] delivers their executed ballots to election officials in time to be counted.” Id.

        Plaintiffs originally brought three claims to protect against these purported harms: (i)

violation of the right to vote guaranteed under the Fourteenth Amendment, (ii) conspiracy to

violate Plaintiffs’ right to vote, and (iii) violation of the Administrative Procedure Act. Id. ¶¶ 97–

112. On September 11, 2020, Plaintiffs amended their complaint to add certain factual

allegations and replace their APA claim with a claim that the Postal Service acted ultra vires.

Am. Compl. ¶¶ 63–160, 193–221. Plaintiffs’ alleged injury, however, did not change; they

continued to assert only a potential inability to vote by mail in the then-upcoming general

election. See, e.g., id. ¶¶ 10–11.

        Shortly after filing their complaint, Plaintiffs moved for a preliminary injunction, seeking

to enjoin four separate, alleged Postal Service policy changes. See ECF. No. 14. In support of

that motion, Plaintiffs argued that they had standing because “if Defendants’ conduct is not

enjoined, [Plaintiffs] will almost certainly be deprived of the right to vote in the general

election.” ECF No. 57, at 11. They argued that their alleged injury could be redressed because

enjoining the alleged policy changes would “allow[] USPS to deliver mail-in ballots without the

delays and delivery failures that have plagued this election season.” Id. Plaintiffs did not identify

any other alleged injury in their motion.

        On October 8, 2020, the Court granted in part and denied in part Plaintiffs’ motion for a

preliminary injunction. Richardson, 2020 WL 5969270, at *15–16. In concluding that Plaintiffs

had standing to bring their claims, the Court noted that Plaintiffs “exclusively seek prospective

injunctive relief” to prevent “disenfranchisement in the November 2020 election.” Id. at *7. The

Court concluded that (i) Plaintiffs had provided evidence showing that changes in Postal Service



                                                      2
       Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 8 of 18




policy had caused mail delays, and (ii) the changes were continuing to have nationwide effects

that could affect Plaintiffs’ ability to vote by mail in the November 2020 election. Id. at *7–8.

The Court’s conclusion that Plaintiffs had standing rested solely on Plaintiffs’ alleged harm in

not being able to vote in the November election—Plaintiffs never identified any other injury that

could give rise to an Article III injury.

        In addressing the scope of Plaintiffs’ requested injunction, the Court, consistent with

Article III’s limitations, appropriately narrowed the requested injunction to apply only to those

policies that the Court found were likely to cause Plaintiffs harm in the November election. Id. at

*15. Those alleged policies included an alleged reduction in overtime pay and an alleged ban on

“late” or “extra” trips. Id. The Court, however, declined to issue a preliminary injunction as to

other alleged policies—such as removing certain sorting machines and collection boxes—

because Plaintiffs “submitted little to no evidence” connecting these policies to Plaintiffs’

alleged injury of not being able to vote by mail in the November election. See id.

B.      Plaintiffs Vote in the November Election

        After the November 3, 2020 election, counsel for Defendants contacted counsel for

Plaintiffs to inquire as to whether Plaintiffs had requested, received, and returned mail-in ballots

for the November 3, 2020 election. See ECF No. 132-1, Email from K. Cholera to D. Berg (Nov.

10, 2020). Plaintiffs’ counsel confirmed that Plaintiffs “did vote in the presidential election.” Id.

In response to Defendants’ counsel’s suggestion that the case was therefore moot, Plaintiffs’

counsel responded that the case was not moot because “President Trump has refused to concede

the election, is contesting the legitimacy of mail-in ballots, and continues to file suits contesting

the validity of the general election.” Id.

        On November 16, 2020, the parties filed a joint proposal for further proceedings in which

they further addressed the issue of mootness. Joint Proposal, ECF. No. 131. Plaintiffs again did

                                                      3
       Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 9 of 18




not dispute that they voted in the November election (nor, specifically, did they dispute that they

were able to vote by mail). But Plaintiffs repeated their argument that their claims were not moot

because the President had not yet conceded the election and that the President’s campaign had

filed election-related lawsuits in various states. Id. at 2–3. Plaintiffs also stated that they intended

to seek a permanent injunction prohibiting the Postal Service “from enforcing the Late/Extra

Trips Policy and from limiting or eliminating the use of overtime to deliver Election Mail” in

future elections, including “the 2024 federal elections.” Id. at 10. And Plaintiffs argued that

“[e]ven if Plaintiffs’ claims are otherwise moot,” the case may proceed to address Defendants’

compliance with the Court’s preliminary injunction order. Id. at 10.

                                       LEGAL STANDARD

        “If the court determines at any time that it lacks subject-matter jurisdiction, the court

must dismiss the action.” Fed. R. Civ. P. 12(h)(3). When reviewing a Rule 12(b)(1) motion to

dismiss, “the court must accept the complaint’s well-pled factual allegations as true and draw all

reasonable inference in the plaintiffs favor.” In re LeFande, 919 F.3d 554, 561 (D.C. Cir. 2019).

“At the same time, the court is not required, however, to accept inferences unsupported by the

facts alleged or legal conclusions that are cast as factual allegations.” Id. In determining whether

jurisdiction exists, “a court may look beyond the allegations of the complaint, consider affidavits

and other extrinsic information, and ultimately weigh the conflicting evidence.” Id.

                                            ARGUMENT

I.      THE COURT LACKS JURISDICTION BECAUSE THIS CASE IS MOOT

        The Court should dismiss Plaintiffs’ complaint because this case is moot. “An actual

controversy must be extant at all stages of review, not merely at the time the complaint is filed.”

Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66, 71–72 (2013) (quoting Arizonans for Official

English Language v. Arizona, 520 U.S. 43, 67 (1997)). “If an intervening circumstance deprives

                                                       4
      Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 10 of 18




the plaintiff of a ‘personal stake in the outcome of the lawsuit,’ at any point during litigation, the

action can no longer proceed and must be dismissed as moot.” Id. (quoting Lewis v. Continental

Bank Corp., 494 U.S. 472, 477–78 (1990)). Thus, “[i]t is not enough that the initial requirements

of standing and ripeness have been satisfied; the suit must remain alive throughout the course of

litigation, to the moment of final appellate disposition.” People for the Ethical Treatment of

Animals, Inc. (“PETA”) v. U.S. Fish & Wildlife Serv., 59 F. Supp. 3d 91, 95 (D.D.C. 2014); see

also Chamber of Commerce of U.S. v. EPA, 642 F.3d 192, 199 (D.C. Cir. 2011) (“[E]ven where

litigation poses a live controversy when filed,” the Court “must dismiss a case as moot if events

have so transpired that the decision will neither presently affect the parties’ rights nor have a

more-than-speculative chance of affecting them in the future.”). This doctrine of mootness

“reflect[s] and enforce[s]” Article III’s limitation of federal jurisdiction to “cases and

controversies” under which “federal courts are without authority ‘to render advisory opinions or

to decide questions that cannot affect the rights of litigants in the case before them.’” Chamber of

Commerce, 642 F.3d at 199 (quoting Preiser v. Newkirk, 422 U.S. 395, 401 (1975)).

       Under a straightforward application of these principles, this case is moot. Because the

November election has passed, Plaintiffs can no longer satisfy any of the requirements of Article

III standing. Plaintiffs cannot establish any injury that is “actual or imminent.” Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1548 (2016) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555,

560) (1992). Plaintiffs sought prospective relief based solely on an alleged injury of a potential

inability to vote by mail in the November 2020 election. But the opportunity to vote in that

election has come and gone. Accordingly, whether or not Plaintiffs had voted, there would be no

relief this Court could provide that could redress allegations of harm related to the November

elections. And Plaintiffs have now indicated that they did, in fact, vote in the election. They



                                                      5
      Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 11 of 18




cannot now seek prospective relief based on an alleged inability to vote in an election that has

already concluded, let alone in an election where the alleged potential injury never in fact

materialized.

       Nor can Plaintiffs establish the elements of causation or redressability. See Spokeo, 136

S. Ct. at 1548. Plaintiffs cannot show that they will suffer any injury traceable to the challenged

conduct of Defendants (because they cannot show that they will suffer any injury at all), or that

any injury could be redressed by a favorable judicial decision. Indeed, precisely because claims

such as Plaintiffs’ are not redressable after an election, numerous courts have dismissed such

claims as moot after the election at issue has taken place. See e.g., Hall v. Beals, 396 U.S. 45, 48

(1969) (case challenging state residency requirement to vote in 1968 election was moot after the

election because it was “impossible to grant [plaintiffs] the relief they sought in the District

Court”); Fleming v. Gutierrez, 785 F.3d 442, 445 (10th Cir. 2015) (challenge to election

procedures was moot after election “because the election has passed and [the court] cannot grant

any effective relief”); Freedom Party of N.Y. v. N.Y. Bd. of Elections, 77 F.3d 660, 662 (2d Cir.

1996) (“After the special election was held, the controversy became moot.”).

         Plaintiffs offer no legal basis for their contention that the Court may nonetheless

continue to exercise jurisdiction over this case. While Plaintiffs argue that the President has not

conceded and there remain election-related lawsuits or even runoff elections in some states, those

arguments have nothing to do with the individual Plaintiffs, their alleged injuries, or their claims

in this case. As a fundamental, threshold matter, the injury asserted by all of the Plaintiffs in this

case, and the claims and resulting requests for relief they asserted, are exclusively related to the

actions of the Postal Service, and the potential effect on Plaintiffs’ right to vote by mail. But

none of the states in which Plaintiffs vote have any remaining runoff elections in which Plaintiffs



                                                      6
      Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 12 of 18




could potentially cast a vote, let alone a vote by mail.1 As such, the Postal Service’s actions with

respect to the mail could have no remaining effect on their right to vote in the November

election.

       What Plaintiffs appear to now argue (although not alleged in the Complaint, as would be

required to preclude dismissal, see Kingman Park Civic Ass’n v. Gray, 27 F. Supp. 3d 142, 168

(D.D.C. 2014)), is that their vote may somehow be affected by the remaining disputes over the

election. But even if Plaintiffs believe that these issues give them the basis for another potential

lawsuit, they have nothing to do with the present case. The Postal Service does not certify the

outcome of elections, and its policies with respect to the mail have no potential effect on that

process.

       Plaintiffs note the obvious point that there will be future elections in their states, and say

that they intend to seek a permanent injunction prohibiting the Postal Service “from enforcing

the Late/Extra Trips Policy and from limiting or eliminating the use of overtime to deliver

Election Mail” in future elections, including “the 2024 federal elections.” Id. at 10. In other

words, Plaintiffs in effect suggest that no dispute over the ability to vote in an election could ever

be moot, because the United States is a democracy that continually provides its citizens with a

right to vote. But that is, of course, not the law. See, e.g., Hall, 396 U.S. at 48; Fleming, 785 F.3d

at 445; Freedom Party of N.Y., 77 F.3d at 662.

       As this Court is well aware, because Plaintiffs only seek prospective relief, they must

show that an alleged injury that requires redress is “certainly pending.” Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 409 (2013). “Allegations of possible future injury are not sufficient.” Id.; see



1
  Defendants do not concede that the existence of a runoff election in one of the relevant states
would create a live case or controversy. But the absence of any such runoff elections removes
any doubt that Plaintiffs’ claims are moot.
                                                      7
      Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 13 of 18




also Chamber of Commerce, 642 F.3d at 200 (“[A]ny petitioner alleging only future injuries

confronts a significantly more rigorous burden to establish standing,” the “petitioners must

demonstrate that the alleged future injury is ‘imminent,’” and “must show that there is a

‘substantial . . . probability’ of injury.”). Here, the future elections as to which Plaintiffs seek

relief are four years away, and the material facts that would underlie any future challenge are

therefore unknown and purely speculative. They include, among others, where Plaintiffs will

reside, whether Plaintiffs will intend to vote (and if so, whether in person or by mail), and

whether their States of residence will provide the ability to vote by mail. For exactly this reason,

courts do not issue permanent injunctions specifically tied to unripe, hypothetical actions that

will occur in four years; instead they issue injunctions to prohibit specific and imminent alleged

unlawful conduct by an agency, which is precisely what Plaintiffs asked for—and received—

here. See, e.g., Nat’l Park Hosp. Ass’n v. Dep’t of Interior, 538 U.S. 803, 807 (2003); CTIA-The

Wireless Ass’n v. FCC, 530 F.3d 984, 987 (D.C. Cir. 2008). Indeed, were this Court to issue an

injunction prohibiting the Postal Service from making any changes to its policies relating to late

or extra trips for the next four years, it is difficult to see how such an injunction would not

violate, in addition to these fundamental jurisdictional precepts, the Supreme Court’s admonition

against federal courts serving as the general overseer of the activities of a federal agency. See

Norton v. S. Utah Wilderness All., 542 U.S. 55, 66 (2004) (federal courts are not empowered to

“enter general orders compelling compliance with broad statutory mandates,” lest the court inject

itself into “day-to-day agency management”).2




2
  Following the issuance of any hypothetical permanent injunction against the agency, the Postal
Service retains the authority to fashion its policies to comply with any adverse judgment,
including potentially submitting planned changes in the nature of postal services that will
generally affect service on a nationwide basis to the Postal Regulatory Commission.
                                                       8
      Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 14 of 18




        Nor does this case fit into the limited exception to mootness for a controversy that is

“capable of repetition, yet evading review.” United States v. Sanchez-Gomez, 138 S. Ct. 1532,

1540 (2018). “A dispute qualifies for that exception only if ‘(1) the challenged action is in its

duration too short to be fully litigated prior to its cessation or expiration, and (2) there is a

reasonable expectation that the same complaining party will be subjected to the same action

again.’” Id. (citation omitted). Neither requirement is satisfied here. There is no reason to believe

any future Postal Service policy changes would evade review. If Plaintiffs believe that such

future changes would impinge their right to vote in later elections, Plaintiffs may challenge those

policies at that time, just as they challenged the policies at issue here in time for the Court to

grant relief before the November election.

        Nor is there a “reasonable expectation that the same complaining party will be subjected

to the same action again,” as it is far too speculative to predict not only what the Postal Service’s

policies will be at the time of future elections, but how those policies could potentially affect

Plaintiffs, especially considering that this year’s election took place during an unprecedented

pandemic that resulted in millions of Americans voting by mail. See, e.g. Am. Fed’n of Gov’t

Emps. v. Rivlin, 995 F. Supp. 165, 166 (D.D.C. 1998) (Sullivan, J.) (challenge to whether

President could require federal employees to work without compensation during budgetary

impasse was rendered moot by passage of budget; case did not fall under the “capable of

repetition, but evading review” exception because it was “entirely speculative for th[e] Court to

predict if, and when, another lapse in appropriations may occur, . . . which employees might be

affected, and whether employees will be required to work without compensation”), aff’d, No. 98-

5045, 1998 WL 545417 (D.C. Cir. July 15, 1998); see also Pub. Citizen Health Research Grp. v.

Pizzella, No. CV 18-1729 (TJK), 2019 WL 4711457, at *5 & n.4 (D.D.C. Sept. 26, 2019) (case



                                                        9
      Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 15 of 18




did not fall under exception to mootness because there was no “non-speculative threat” that

agency would take the same action in the future); Fund for Animals v. Mainella, 335 F. Supp. 2d

19, 24 (D.D.C. 2004) (same). Accordingly, there is no reason why the Court should not dismiss

this case as moot.

II.    THE POSTAL SERVICE HAS FULLY COMPLIED WITH THE COURT’S
       PRELIMINARY INJUNCTION ORDER, AND, IN ANY EVENT, ANY ALLEGED
       NONCOMPLIANCE CANNOT GIVE RISE TO A CASE OR CONTROVERSY
       THAT DOES NOT OTHERWISE EXIST

       In the parties’ joint proposal for further proceedings, Plaintiffs also assert that the Postal

Service has not complied with the Court’s preliminary injunction order and request “an order

compelling Defendant DeJoy to appear on a date certain in this Court . . . and . . . show cause

why he should not be held in contempt for failing to immediately and fully implement” the

Court’s order. Joint Proposal at 5–10. As an initial matter, Plaintiffs have no basis to continue to

assert noncompliance with the orders of this Court, as Defendants have explained. See Defs.’

Opp. to Pls.’ Mot. to Enforce 6–13, ECF No. 69. 3 Nor is there any basis to compel testimony

from the Postmaster General. See Joint Proposal at 14–17.

       But even if Plaintiffs could show that the Postal Service violated the Court’s order in

some way (which they cannot), this would not create a “case or controversy” that does not

otherwise exist. Indeed, Plaintiffs do not appear to argue otherwise. Instead, Plaintiffs argue only

that “[e]ven if [Plaintiffs’] claims are otherwise moot, Defendants may still be held in contempt

for their failure to comply with the preliminary injunctions and other lawful Orders issued by this

Court.” Joint Proposal at 10 (emphasis added).




3
   Even Plaintiffs do not appear to assert that there is any continued noncompliance that requires
additional orders from this Court to protect against potential future harms. Nor could they, as
they have already cast their votes.
                                                     10
       Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 16 of 18




       The Supreme Court has made clear, however, that a contempt proceeding is a “separate

and independent proceeding at law that is not part of the original action.” Cooter & Gell v.

Hartmarx Corp., 496 U.S. 384, 396 (1990). “It is well established that a federal court may

consider collateral issues”—such as contempt—“after an action is no longer pending.” Id. Thus,

a court can “make an adjudication of contempt and impose a contempt sanction ever after the

action in which the contempt arose has been terminated.” Id. Accordingly, even if there were a

basis for Plaintiffs’ assertion that the Postal Service has not complied with the Court’s

preliminary injunction order (which there is not), this would not create a “case or controversy”

that would permit Plaintiffs to maintain their suit, other than for the collateral purpose of

pursuing contempt. Thus, Plaintiffs have provided no reason why their complaint should not be

dismissed as moot.

III.   IN THE ALTERNATIVE, THE COURT SHOULD DISSOLVE THE
       PRELIMINARY INJUNCTION

       Because the case is moot, the Court should also dissolve the preliminary injunction. See,

e.g., Am. Freedom Def. Initiative v. Metro. Transp. Auth., 109 F. Supp. 3d 626, 635 (S.D.N.Y.

2015) (dissolving preliminary injunction because plaintiffs’ claims were moot), aff’d, 815 F.3d

105 (2d Cir. 2016). A preliminary injunction “preserve[s] the status quo pending the outcome of

litigation.” Dist. 50, United Mine Workers of Am. v. Int’l Union, United Mine Workers of Am.,

412 F.2d 165, 168 (D.C. Cir. 1969). Thus, dismissal of a complaint extinguishes a preliminary

injunction. See, e.g., Venezia v. Robinson, 16 F.3d 209, 211 (7th Cir. 1994) (“A preliminary

injunction cannot survive the dismissal of a complaint.”); Cypress Barn, Inc. v. W. Elec. Co., 812

F.2d 1363, 1364 (11th Cir.1987) (“Since a preliminary injunction is interlocutory in nature, it

cannot survive a final order of dismissal.”); 11A Charles Alan Wright, Arthur R. Miller & Mary

K. Kane, Federal Practice and Procedure § 2947 (Oct. 2020 update) (“A preliminary injunction


                                                     11
      Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 17 of 18




remains in effect until a final judgment is rendered or the complaint is dismissed.”); see also

Burniac v. Wells Fargo Bank, N.A., 810 F.3d 429, 435 (6th Cir. 2016) (collecting cases).

       Moreover, even if the complaint were not dismissed, the Court should still dissolve the

preliminary injunction. The D.C. Circuit has recognized that dissolving a preliminary injunction

is appropriate where there is “‘a significant change in factual conditions or in law’ such that

continued enforcement of the injunction would be ‘detrimental to the public interest.’” Doe 2 v.

Shanahan, 755 F. App’x 19, 22 (D.C. Cir. 2019) (reversing denial of motion to dissolve

preliminary injunction given significant changes to challenged policy) (quoting Horne v. Flores,

557 U.S. 433, 447 (2009)). Here, the fact that the November election has come and gone is a

significant change in circumstances that bears on all four preliminary injunction factors. Even

were there any uncertainty regarding whether Plaintiffs’ claims are moot (which there is not),

that uncertainty alone would weigh heavily against Plaintiffs’ likelihood of success on the merits.

Nor can they show any continued threat of irreparable harm. The balance of the equities and

public interest also counsel in favor of dissolving an injunction that was entered to prevent

disenfranchisement in an election that has concluded and in which all Plaintiffs voted, yet

imposes continuing limitations on the actions of the Postal Service. Accordingly, the Court’s

October 8, 2020 preliminary injunction order should be dissolved.

                                         CONCLUSION

       The Court should dismiss Plaintiffs’ complaint or, in the alternative, dissolve the

preliminary injunction.




                                                     12
     Case 1:20-cv-02262-EGS Document 140-1 Filed 11/24/20 Page 18 of 18




Date: November 24, 2020            Respectfully submitted,

                                   JEFFREY BOSSERT CLARK
                                   Acting Assistant Attorney General

                                   ERIC R. WOMACK
                                   Assistant Branch Director
                                   Federal Programs Branch

                                   /s/ John Robinson
                                   JOSEPH E. BORSON
                                   KUNTAL CHOLERA
                                   ALEXIS ECHOLS
                                   DENA M. ROTH
                                   JOHN ROBINSON (D.C. Bar No. 1044072)
                                   Trial Attorneys
                                   U.S. Department of Justice
                                   Civil Division, Federal Programs Branch
                                   1100 L Street, NW
                                   Washington, D.C. 20005
                                   (202) 616-8489
                                   john.j.robinson@usdoj.gov




                                         13
